Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 1 of 12 PageID #: 298




          EXHIBIT 8
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 2 of 12 PageID #: 299
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 3 of 12 PageID #: 300
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 4 of 12 PageID #: 301
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 5 of 12 PageID #: 302
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 6 of 12 PageID #: 303
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 7 of 12 PageID #: 304
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 8 of 12 PageID #: 305
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 9 of 12 PageID #: 306
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 10 of 12 PageID #: 307
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 11 of 12 PageID #: 308
Case 2:24-cv-00133-JRG Document 1-8 Filed 02/23/24 Page 12 of 12 PageID #: 309
